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                            FOR PUBLICATION

               UNITED STATES COURT OF APPEALS
                    FOR THE NINTH CIRCUIT


             FEDERAL TRADE COMMISSION,               No. 16-17197
                            Plaintiff-Appellee,
                                                        D.C. No.
                             v.                      2:12-cv-00536-
                                                       GMN-VCF
             AMG CAPITAL MANAGEMENT, LLC;
             BLACK CREEK CAPITAL
             CORPORATION; BROADMOOR                    OPINION
             CAPITAL PARTNERS, LLC; LEVEL 5
             MOTORSPORTS, LLC; SCOTT A.
             TUCKER; PARK 269 LLC; KIM C.
             TUCKER,
                         Defendants-Appellants.



                  Appeal from the United States District Court
                           for the District of Nevada
                   Gloria M. Navarro, Chief Judge, Presiding

                     Argued and Submitted August 15, 2018
                           San Francisco, California

                            Filed December 3, 2018
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            2                FTC V. AMG CAPITAL MGMT.

                 Before: Diarmuid F. O’Scannlain and Carlos T. Bea,
                Circuit Judges, and Richard G. Stearns, * District Judge.

                           Opinion by Judge O’Scannlain;
                          Concurrence by Judge O’Scannlain;
                             Concurrence by Judge Bea


                                      SUMMARY **


                              Federal Trade Commission

                The panel affirmed the district court’s summary
            judgment, and relief order, in favor of the Federal Trade
            Commission (“FTC”) in the FTC’s action alleging that Scott
            Tucker’s business practices violated § 5 of the FTC Act’s
            prohibition against “unfair or deceptive acts or practices in
            or affecting commerce.”

                Tucker’s businesses offered high-interest, short-term
            payday loans through various websites that directed
            approved borrowers to hyperlinked documents that included
            the “Loan Note” and the essential terms of the loan as
            mandated by the Truth in Lending Act (“TILA”). The FTC
            alleged that Tucker violated § 5 of the FTC Act because the
            Loan Note was likely to mislead borrowers about the terms
            of the loan.


                 *
                   The Honorable Richard G. Stearns, United States District Judge
            for the District of Massachusetts, sitting by designation.
                 **
                   This summary constitutes no part of the opinion of the court. It
            has been prepared by court staff for the convenience of the reader.
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                 The panel held that the Loan Note was deceptive because
            it did not accurately disclose the loan’s terms. Specifically,
            the panel held that the TILA box’s “total of payments” value
            was deceptive, and the fine print’s oblique description of the
            loan’s terms did not cure the misleading “net impression”
            created by the TILA box. The panel concluded that the Loan
            Note was likely to deceive a consumer acting reasonably
            under the circumstances.

                The panel held that the district court had the power to
            order equitable monetary relief under § 13(b) of the FTC
            Act. The panel held that the Supreme Court’s recent
            decision in Kokesh v. SEC, 137 S. Ct. 1635 (2017), and this
            court’s decision in FTC v. Commerce Planet, Inc., 815 F.3d
            593, 598 (9th Cir. 2016) (holding that § 13 empowers district
            court’s to grant any ancillary relief necessary), were not
            clearly irreconcilable; and Commerce Planet remained good
            law.

                The panel held that the district court did not abuse its
            discretion in calculating the $1.27 billion award. The panel
            applied the burden-shifting framework of Commerce Planet,
            and concluded that the district court did not abuse its
            discretion when calculating the amount it ordered Tucker to
            pay.

                The panel held that the district court did not err in
            permanently enjoining Tucker from engaging in consumer
            lending.

                Judge O’Scannlain, specially concurring, joined by
            Judge Bea, wrote separately to suggest that the court rehear
            the case en banc to reconsider Commerce Planet and its
            predecessors, and the court’s interpretation of § 13(b) of the
            FTC Act to empower district courts to compel defendants to
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            pay monetary judgments styled as “restitution.” He would
            hold that this interpretation wrongly authorized a power that
            the statute did not permit.

                Judge Bea concurred in the opinion because precedent
            compelled him to do so, but he wrote separately because he
            believed that this court’s precedent was wrong in that it
            allowed the panel to decide that the Loan Note was deceptive
            as a matter of law. See FTC v. Cyberspace.com, LLC, 453
            F.3d 1196, 1200 (9th Cir. 2006). Judge Bea would hold that
            courts should reserve questions such as whether the Loan
            Note was “likely to deceive” for the trier of fact.


                                    COUNSEL

            Paul C. Ray (argued), Paul C. Ray Chtd., North Las Vegas,
            Nevada, for Defendants-Appellants.

            Imad Dean Abyad (argued) and Theodore P. Metzler,
            Attorneys; Joel Marcus, Deputy General Counsel; David C.
            Shonka, Acting General Counsel; Federal Trade
            Commission, Washington, D.C.; for Plaintiff-Appellee.
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                                    OPINION

            O’SCANNLAIN, Circuit Judge:

                We must decide whether the Federal Trade Commission
            Act can support an order compelling a defendant to pay
            $1.27 billion in equitable monetary relief.

                                         I

                                         A

                 Scott Tucker controlled a series of companies that
            offered high-interest, short-term loans to cash-strapped
            customers. He structured his businesses to offer these
            payday loans exclusively through a number of proprietary
            websites with names like “500FastCash,” “OneClickCash,”
            and “Ameriloan.” Although these sites operated under
            different names, each disclosed the same loan information in
            an identical set of loan documents. Between 2008 and 2012,
            Tucker’s businesses originated more than 5 million payday
            loans, each generally disbursing between $150 and $800 at
            a triple-digit interest rate.

                The application process was simple. Potential borrowers
            would navigate to one of Tucker’s websites and enter some
            personal, employment, and financial information. Such
            information included the applicant’s bank account and
            routing numbers so that the lender could deposit the funds
            and—when the bill came due—make automatic
            withdrawals. Approved borrowers were directed to a web
            page that disclosed the loan’s terms and conditions by
            hyperlinking to seven documents. The most important of
            these documents was the Loan Note and Disclosure (“Loan
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            Note”), 1 which provided the essential terms of the loan as
            mandated by the Truth in Lending Act (“TILA”). See
            15 U.S.C. § 1601 et seq. Borrowers could open the Loan
            Note and read through its terms if they chose, but they could
            also simply ignore the document, electronically sign their
            names, and click a big green button that said: “I AGREE
            Send Me My Cash!”

                                               B

                In April 2012, the Federal Trade Commission
            (“Commission”) filed suit against Tucker and his businesses
            in the District of Nevada. 2 The Commission’s amended
            complaint alleged that Tucker’s business practices violated
            § 5 of the Federal Trade Commission Act’s (“FTC Act”)
            prohibition against “unfair or deceptive acts or practices in
            or affecting commerce.” 15 U.S.C. § 45(a)(1). 3 In particular,
            the Commission alleged that Tucker violated § 5 because the
            terms disclosed in the Loan Note did not reflect the terms
                1
                    An example of the Loan Note is reproduced in the Appendix.

                2
                  As is relevant on appeal, Tucker’s businesses include defendants-
            appellants AMG Capital Management, LLC; Black Creek Capital
            Corporation; Broadmoor Capital Partners, LLC; and Level 5
            Motorsports, LLC. Tucker is the sole owner of these corporations, and
            we refer to them collectively as “Tucker.” The Commission’s complaint
            also alleged that defendants-appellants Kim Tucker (Scott Tucker’s
            wife) and Park 269 (a limited liability corporation that Kim Tucker
            owns) “received funds” that could be “traced directly to [Tucker’s]
            unlawful acts or practices.”

                 3
                   The Commission also claimed that such practices violated TILA’s
            “Regulation Z,” which requires disclosures to be made “clearly and
            conspicuously.” 12 C.F.R. § 1026.17(a)(1). These formally independent
            legal theories are largely duplicative, however, because TILA states that
            a violation of its provisions “shall be deemed” a violation of the FTC
            Act. 15 U.S.C. § 1607(c).
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            that Tucker actually enforced. Thus, the Commission asked
            the court permanently to enjoin Tucker from engaging in
            consumer lending and to order him to disgorge “ill-gotten-
            monies.”

                In December 2012, the parties agreed to bifurcate the
            proceedings in the district court into a “liability phase” and
            a “relief phase.” During the liability phase, the Commission
            moved for summary judgment on the FTC Act claim, which
            the district court granted. In the relief phase, the court
            enjoined Tucker from assisting “any consumer in receiving
            or applying for any loan or other extension of Consumer
            Credit,” and ordered Tucker to pay approximately
            $1.27 billion in equitable monetary relief to the
            Commission. The district court instructed the Commission
            to direct as much money as practicable to “direct redress to
            consumers,” then to “other equitable relief . . . reasonably
            related to the Defendants’ practices alleged in the
            complaint,” and then to “the U.S. Treasury as
            disgorgement.” Tucker timely appeals and challenges both
            the entry of summary judgment and the relief order.

                                          II

                Tucker first argues that the district court wrongly granted
            the Commission’s motion for summary judgment finding
            Tucker liable for violating § 5 of the FTC Act.

                                          A

                Section 5 of the FTC Act prohibits “deceptive acts or
            practices in or affecting commerce.” 15 U.S.C. § 45(a)(1).
            To prevail, the Commission must show that a representation,
            omission, or practice is “likely to mislead consumers acting
            reasonably under the circumstances.” FTC v. Stefanchik,
            559 F.3d 924, 928 (9th Cir. 2009) (internal quotation marks
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            omitted). This consumer-friendly standard does not require
            the Commission to provide “[p]roof of actual deception.”
            Trans World Accounts, Inc. v. FTC, 594 F.2d 212, 214 (9th
            Cir. 1979). Instead, it must show only that the “net
            impression” of the representation would be likely to
            mislead—even if such impression “also contains truthful
            disclosures.” FTC v. Cyberspace.com LLC, 453 F.3d 1196,
            1200 (9th Cir. 2006).

                                          1

                In this case, the Commission argues that Tucker violated
            § 5 because the Loan Note was likely to mislead borrowers
            about the terms of the loan. The top third of such Loan Note
            contained the so-called TILA box, which disclosed the
            “amount financed,” the “finance charge,” the “total of
            payments,” and the “annual percentage rate.” The “amount
            financed” portion of the box was the amount borrowed, and
            the “finance charge” was equal to 30 percent of the borrowed
            amount. The final two figures were calculated by summing
            the principal and the finance charge (“total of payments”)
            and then determining the “annual percentage rate.” By way
            of illustration, suppose that a customer wanted to borrow
            $300. The Loan Note’s TILA box would state that the
            “amount financed” was $300, that the “finance charge” was
            $90, and that the “total of payments” was $390. The “annual
            percentage rate” would vary based on the date the first
            payment was due.

                But the fine print below the TILA box was essential to
            understanding the loan’s terms. This densely packed text set
            out two alternative payment scenarios: (1) the “decline-to-
            renew” option and (2) the “renewal” option. Beneath the
            TILA box, the Loan Note stated: “Your Payment Schedule
            will be: 1 payment of [the ‘total of payments’ number] . . . if
            you decline* the option of renewing your loan.” The asterisk
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            directed the reader to text five lines further down the page,
            which read: “To decline this option of renewal, you must
            select your payment options using the Account Summary
            link sent to your email at least three business days before
            your loan is due.” Tucker would send this “Account
            Summary link” three days after the funds were disbursed.
            With this email, borrowers hoping to exercise the decline-to-
            renew option had to navigate through an online customer-
            service portal, affirmatively choose to “change the
            Scheduled” payment, and agree to “Pay Total Balance.” All
            of this had to be done “at least three business days” before
            the next scheduled payment. Thus, the borrower had to take
            affirmative action within a specified time frame if he hoped
            to pay only the amount listed in the TILA box as the “total
            of payments.”

                By contrast, the “renewal” option would end up costing
            a borrower significantly more. Importantly, renewing the
            loan did not require the borrower to take any affirmative
            action at all; it was the default payment schedule. On the
            third line below the TILA box, the Loan Note read: “If
            renewal is accepted you will pay the finance charge . . .
            only.” And with each “renewal,” the borrower would
            “accrue new finance charges”—that is, an additional
            30-percent premium. After the fourth renewal, Tucker would
            begin to withdraw the “finance charge plus $50,” and he
            would withdraw another such payment each subsequent
            period until the loan was paid in full.

               To illustrate, consider again the example of the customer
            who wanted to borrow $300. The Loan Note’s TILA box
            would indicate that his “total of payments” would be $390,
            equaling $300 in principal plus a $90 finance charge. But he
            would be required to pay much more than that, unless he
            took the affirmative steps to “decline” to renew the loan.
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            Once again, these steps required him to wait three days after
            getting the cash, follow a link in a separate email, and agree
            at least three days before the due date to pay the full balance.
            If he failed to perform this routine, then he would owe yet
            another finance change (equaling another 30 percent of the
            borrower’s remaining balance) at the next due date. And if
            he simply let Tucker automatically withdraw the payments
            for the course of the loan, he would owe the $300 principal,
            plus ten separate finance charges, each equaling 30 percent
            of the borrower’s remaining balance. Altogether, a borrower
            following the default plan would pay $975 instead of $390.

                                           2

                We agree with the Commission that the Loan Note was
            deceptive because it did not accurately disclose the loan’s
            terms. Most prominently, the TILA box suggested that the
            value reported as the “total of payments”—described further
            as the “amount you will have paid after you have made the
            scheduled payment”—would equal the full cost of the loan.
            In reliance on this information, a reasonable consumer might
            expect to pay only that amount. But as we have described,
            under the default terms of the loan, a consumer would be
            required to pay much more. Indeed, under the terms that
            Tucker actually enforced, borrowers had to perform a series
            of affirmative actions in order to decline to renew the loan
            and thus pay only the amount reported in the TILA box.

                The Loan Note’s fine print does not reasonably clarify
            these terms because it is riddled with still more misleading
            statements. First, the explanation of the process of declining
            to renew the loan is buried several lines below where the
            option to decline is first introduced. Second, nothing in the
            fine print explicitly states that the loan’s “renewal” would be
            the automatic consequence of inaction. Instead, it
            misleadingly says that such renewal must be “accepted,”
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            which seems to require the borrower to perform some
            affirmative action. Third, between the sentence that
            introduces the decline-to-renew option and the sentences
            that explain the costly consequences of renewal, there is a
            long and irrelevant sentence about what happens if a pay date
            falls on a weekend or holiday. Thus, the fine print’s oblique
            description of the loan’s terms fails to cure the misleading
            “net impression” created by the TILA box.

                                          3

                Tucker suggests, however, that the Loan Note is not
            deceptive because it is “technically correct.” But the FTC
            Act’s consumer-friendly standard does not require only
            technical accuracy. In Cyberspace, we held that a solicitation
            was deceptive even though “the fine print notices . . . on the
            reverse side of the” solicitation contained “truthful
            disclosures.” 453 F.3d at 1200. Indeed, Cyberspace held that
            it was irrelevant that “most consumers [could] understand
            the fine print on the back of the solicitation when that
            language [was] specifically brought to their attention.” Id. at
            1201. Just as in Cyberspace, consumers acting reasonably
            under the circumstances—here, by looking to the terms of
            the Loan Note to understand their obligations—likely could
            be deceived by the representations made there. Therefore,
            we agree with the Commission that the Loan Note was
            deceptive.

                                          B

                Tucker further contends that the district court erred
            because its narrow focus on the Loan Note fails to capture
            the “net impression” on consumers. The district court found
            that “any facts other than the terms of the Loan Note . . . and
            their presentation in the document are immaterial to a
            summary judgment determination.” But according to
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            Tucker, the court should have considered all of his loan
            disclosures and all of his communications regarding those
            disclosures.

                Tucker’s argument wrongly assumes that non-deceptive
            business practices can somehow cure the deceptive nature of
            the Loan Note. The Act prohibits deceptive “acts or
            practices,” 15 U.S.C. § 45(a)(1) (emphasis added), so it
            gives the Commission flexibility to bring suit either for
            particular misleading representations, or for generally
            deceptive business practices. Cf. FTC v. Sperry &
            Hutchinson Co., 405 U.S. 233, 243 (1972) (“Congress [did
            not intend] to confine the forbidden methods to fixed and
            unyielding categories.” (citation omitted)). In this case, the
            Commission must show only that a specific “representation”
            was “likely to mislead.” Stefanchik, 559 F.3d at 928; see also
            Cyberspace, 453 F.3d at 1200–01 (basing liability on
            deceptive solicitations without resorting to defendant’s other
            practices); Removatron Int’l Corp. v. FTC, 884 F.2d 1489,
            1496–97 (1st Cir. 1989) (“Each advertisement must stand on
            its own merits; even if other advertisements contain
            accurate, non-deceptive claims, a violation may occur with
            respect to the deceptive ads.”). Under this standard, the
            district court’s focus on the Loan Note—that is, on this
            particular deceptive “representation”—was perfectly
            permissible.

                                          C

                Tucker next argues that summary judgment was also
            inappropriate because he demonstrated a genuine issue of
            material fact by presenting affirmative evidence from which
            a jury could find in his favor. Tucker cites a host of evidence
            in support of this point, but only two of his arguments merit
            our attention.
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                First, Tucker claims that the Commission introduced
            evidence that “contradicted” its theory of deception because
            four deposed consumers “had not read the loan disclosures”
            and “understood the disclosures upon reading them at their
            depositions.” Thus, Tucker argues that there is some
            evidence that consumers may not have regularly read the
            supposedly deceptive Loan Note. And if customers were not
            likely to read the Loan Note in the first place, the argument
            goes, then it cannot be likely to deceive them.

                But Tucker once again misunderstands the consumer-
            friendly standards of § 5 of the FTC Act. We have held that
            “[p]roof of actual deception is unnecessary to establish a
            violation,” and thus Tucker can be liable if the Loan Note
            itself “possess[es] a tendency to deceive.” Trans World
            Accounts, Inc., 594 F.2d at 214. Thus, we held in Cyberspace
            that the terms of a solicitation alone were deceptive such that
            “no reasonable factfinder could conclude that the solicitation
            was not likely to deceive consumers acting reasonably under
            the circumstances.” 453 F.3d at 1201. True enough, we also
            stated in Cyberspace that proof of actual deception is “highly
            probative,” but we did so only to “bolster[]” our conclusion
            that the solicitation itself “created [a] deceptive impression.”
            Id. at 1200–01. In this case, however, Tucker points to no
            evidence that consumers who did read the Loan Note
            understood its terms. Tucker therefore fails to show that a
            genuine issue of material fact exists.

                Second, Tucker claims that the expert testimony offered
            by Dr. David Scheffman demonstrated an “absence of
            confusion or deception.” Tucker’s counsel retained Dr.
            Scheffman, who earned his doctorate in economics at the
            Massachusetts Institute of Technology, to “opine on whether
            the economic evidence regarding borrower behavior” was
            consistent with the Commission’s theory of liability. He
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            designed his analysis “to test for any material difference in
            the behavior of inexperienced consumers that would indicate
            their understanding of the loan terms was different from
            highly experienced consumers.” In other words, he wanted
            to determine whether first-time borrowers behaved like
            those who took out multiple loans. If first-time borrowers
            behaved just like the repeat borrowers, Dr. Scheffman
            reasoned, then the first-time borrowers could not have been
            misled about the loan terms. Because there was a “near-
            perfect . . . correlation between payoff behavior” among
            borrowers, Dr. Scheffman concluded that the data were
            “inconsistent with the allegation that borrowers were
            misled.”

                 But Dr. Scheffman’s reasoning begs the question.
            Consistent payoff patterns among classes of consumers
            show, at best, that the consumers were similarly aware of
            their obligations. While Dr. Scheffman concludes that first-
            time borrowers were just as well informed as the repeat ones,
            it is equally plausible that the repeat borrowers were just as
            confused as those taking out their first loans. As the district
            court noted, the expert’s analysis simply assumed that repeat
            borrowers “plainly understood the loan terms.” He did not,
            however, offer any evidence “that repeat borrowers across
            loan portfolios knew they were dealing with the same
            enterprise.” To survive summary judgment, Tucker must
            identify some specific factual disagreement that could lead a
            fact-finder to conclude that the Loan Note was not likely to
            deceive. See Stefanchik, 559 F.3d at 929. Dr. Scheffman’s
            testimony offers only speculative analysis that could cut
            either way. See McIndoe v. Huntington Ingalls Inc., 817 F.3d
            1170, 1173 (9th Cir. 2016) (“Arguments based on
            conjuncture or speculation are insufficient . . . .” (internal
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            quotation marks omitted)). Therefore, Dr. Scheffman’s
            testimony does not raise a genuine issue of material fact. 4

                                               D

                We conclude that the Loan Note was likely to deceive a
            consumer acting reasonably under the circumstances. We
            are therefore satisfied that the district court did not err in
            entering summary judgment against Tucker as to the liability
            phase.

                                              III

                Tucker next challenges the relief phase determination
            that he must pay the Commission $1.27 billion. He urges that
            the district court did not have the power to order equitable
            monetary relief under § 13(b) of the FTC Act. Alternatively,
            he argues that the order to pay $1.27 billion overstates his
            unjust gains.

                                               A

                Tucker contends that the Commission “improperly
            use[d] Section 13(b) to pursue penal monetary relief under
            the guise of equitable authority.” After all, he points out,
            § 13(b) provides only that district courts may enter

                4
                   We need not address Tucker’s objections that the admission of the
            Commission’s consumer complaint database violated Federal Rule of
            Evidence 807 and Federal Rule of Civil Procedure 37. Such evidence
            was irrelevant to the district court’s determination that the Loan Note
            itself was deceptive. Even if Tucker were correct, any error is harmless.
            See Dowdy v. Metro. Life Ins. Co., 890 F.3d 802, 807 (9th Cir. 2018).
            Likewise, we need not address the Commission’s alternative theory that
            Tucker is liable because he “independently violated the Truth in Lending
            Act.” The finding of liability under § 5 of the FTC Act is independently
            sufficient to affirm the judgment against Tucker.
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            “injunction[s].” 15 U.S.C. § 53(b). According to Tucker, an
            order to pay “equitable monetary relief” is not an injunction,
            so he concludes that the statute does not authorize the court’s
            order.

                Tucker’s argument has some force, but it is foreclosed
            by our precedent. We have repeatedly held that § 13
            “empowers district courts to grant any ancillary relief
            necessary to accomplish complete justice, including
            restitution.” FTC v. Commerce Planet, Inc., 815 F.3d 593,
            598 (9th Cir. 2016) (internal quotation marks omitted); see
            also FTC v. Pantron I Corp., 33 F.3d 1088, 1102 (9th Cir.
            1994) (“[T]he authority granted by section 13(b) . . .
            includes the power to order restitution.”). Our precedent thus
            squarely forecloses Tucker’s argument.

                 Tucker responds that we should revisit Commerce Planet
            in light of the Supreme Court’s recent decision in Kokesh v.
            SEC, 137 S. Ct. 1635 (2017). In Kokesh, the Court
            determined that a claim for “disgorgement imposed as a
            sanction for violating a federal securities law” was a
            “penalty” within the meaning of the federal catch-all statute
            of limitations. 137 S. Ct. at 1639. Much like the equitable
            monetary relief at issue in this case, disgorgement in the
            securities-enforcement context is “a form of restitution
            measured by the defendant’s wrongful gain.” Id. at 1640
            (citing Restatement (Third) of Restitution and Unjust
            Enrichment § 51 cmt. A, at 204 (2010)); see also Commerce
            Planet, 815 F.3d at 599 (describing restitution under § 13(b)
            as the power to “deprive defendants of their unjust gains”).
            The Court held that disgorgement orders are penalties
            because they “go beyond compensation, are intended to
            punish, and label defendants wrongdoers as a consequence
            of violating public laws.” Id. at 1645 (internal quotation
            marks omitted).
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                Tucker suggests that Kokesh severs the line of reasoning
            that links “injunctions” to “equitable monetary relief.” We
            said in Commerce Planet, for instance, that by “authorizing
            the issuance of injunctive relief,” the statute “invoked the
            court’s equity jurisdiction.” 815 F.3d at 598 (citing Porter v.
            Warner Holding Co., 328 U.S. 395 (1946)). Therefore, we
            concluded, § 13(b) “carries with it the inherent power to
            deprive defendants of their unjust gains from past violations,
            unless the Act restricts that authority.” Id. at 599. Tucker
            contends, however, that Kokesh’s reasoning compels the
            conclusion that restitution under § 13(b) is in effect a
            penalty—not a form of equitable relief.

                A three-judge panel may not overturn prior circuit
            authority unless it is “clearly irreconcilable with the
            reasoning or theory of intervening higher authority,” Miller
            v. Gammie, 335 F.3d 889, 893 (9th Cir. 2003) (en banc), and
            such threshold is not met here. First, Kokesh itself expressly
            limits the implications of the decision: “Nothing in this
            opinion should be interpreted as an opinion on whether
            courts possess authority to order disgorgement in SEC
            enforcement proceedings.” Kokesh, 137 S. Ct. at 1642 n.3.
            Second, Commerce Planet expressly rejected the argument
            that § 13(b) limits district courts to traditional forms of
            equitable relief, holding instead that the statute allows courts
            “to award complete relief even though the decree includes
            that which might be conferred by a court of law.” Commerce
            Planet, 815 F.3d at 602 (internal quotation marks omitted).
            Because Kokesh and Commerce Planet are not clearly
            irreconcilable, we remain bound by our prior interpretation
            of § 13(b).

                                           B

                Tucker next argues that the district court abused its
            discretion in calculating the amount of the award. Under our
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            case law, we apply a burden-shifting framework. See
            Commerce Planet, 815 F.3d at 603–04. The Commission
            “bears the burden of proving that the amount it seeks in
            restitution reasonably approximates the defendant’s unjust
            gain,” which is measured by “the defendant’s net revenues
            . . . , not by the defendant’s net profits.” Id. at 603. If the
            Commission makes such showing, the defendant must show
            that the Commission’s approximation “overstate[s] the
            amount of the defendant’s unjust gains.” Id. at 604. Any
            “risk of uncertainty at this second step falls on the
            wrongdoer.” Id. (internal quotation marks omitted).

                 Tucker argues that the $1.27 billion judgment overstates
            his unjust gains. The court arrived at such figure based on
            the calculations of one of the Commission’s analysts. The
            analyst relied on data from Tucker’s loan management
            software to determine how much money Tucker received
            from consumers in excess of the principal disbursed plus the
            initial 30-percent finance charge. This surplus represented
            the amount of money that Tucker had received over-and-
            above the amount disclosed in the TILA box, which the
            Commission argued represented Tucker’s ill-gotten gains.
            The district court agreed, so the final sum it ordered Tucker
            to pay was calculated as follows: the sum of each consumer’s
            payments to Tucker, minus the sum of each consumer’s
            “total of payments” as disclosed in the TILA box, and minus
            certain other payments already made or to be made by other
            defendants.

                Tucker responds that the district court erred because it
            ignored evidence of non-deception that should have reduced
            the award. Once again, Tucker reiterates the argument that
            repeat customers could not have been misled by the loan’s
            terms. Therefore, he concludes, these customers should have
            been excluded from the calculation. As we said above,
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            however, Tucker has not pointed to specific evidence that
            indicates one way or another whether repeat customers were
            actually deceived. See supra Part II.C. Further, Tucker has
            not offered “a reliable method of quantifying what portion
            of the consumers who purchased [the product] did so free
            from deception.” Commerce Planet, 815 F.3d at 604.
            Therefore, the district court did not abuse its discretion when
            calculating the amount it ordered Tucker to pay. 5

                                                IV

                Finally, Tucker challenges the district court’s decision to
            enjoin him from engaging in consumer lending. The text of
            § 13(b) limits injunctive relief to “proper cases,” 15 U.S.C.
            § 53(b), and Tucker argues that the “proper case” language
            confines district courts to cases of “routine fraud.” But we
            rejected this very argument in FTC v. Evans Products Co.,
            775 F.2d 1084, 1086–87 (9th Cir. 1985). We thus cannot find
            fault with the district court’s decision to enter a permanent
            injunction.




                 5
                   The district court’s relief order also required Kim Tucker and Park
            269 to disgorge more than $27 million because Tucker had “diverted
            millions of dollars” from himself to them. Kim Tucker and Park 269
            challenge this order. We have held that the FTC Act gives district courts
            the power to reach fraudulently obtained property “in the hands of any
            subsequent holder,” unless “the transferee purchases ill-gotten assets for
            value, in good faith, and without actual or constructive notice of the
            wrongdoing.” FTC v. Network Servs. Depot, Inc., 617 F.3d 1127, 1141–
            42 (9th Cir. 2010) (internal quotation marks omitted). Here, the district
            court found that Kim Tucker and Park 269 did not provide any
            consideration for their money transfers from Tucker. They do not dispute
            this core finding, and therefore we hold that the district court did not err
            when it ordered Kim Tucker and Park 269 to disgorge ill-gotten gains.
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                                        V

                 The judgment of the district court is AFFIRMED.
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                                 APPENDIX

               The following is an example of the Loan Note:
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            O’SCANNLAIN, Circuit Judge, specially concurring,
            joined by BEA, Circuit Judge:

                I write separately to call attention to our circuit’s
            unfortunate interpretation of the Federal Trade Commission
            Act. We have construed § 13(b)’s authorization of
            “injunction[s]” to empower district courts to compel
            defendants to pay monetary judgments styled as
            “restitution.” See FTC v. Commerce Planet, Inc., 815 F.3d
            593, 598 (9th Cir. 2016); FTC v. Pantron I Corp., 33 F.3d
            1088, 1102 (9th Cir. 1994); FTC v. H.N. Singer, Inc.,
            668 F.2d 1107, 1113 (9th Cir. 1982).

                I respectfully suggest that such interpretation is no longer
            tenable.

                Because the text and structure of the statute
            unambiguously foreclose such monetary relief, our
            invention of this power wrests from Congress its authority to
            create rights and remedies. And the Supreme Court’s recent
            decision in Kokesh v. SEC, 137 S. Ct. 1635 (2017),
            undermines a premise in our reasoning: that restitution under
            § 13(b) is an “equitable” remedy at all. Because our
            interpretation wrongly authorizes a power that the statute
            does not permit, we should rehear this case en banc to
            relinquish what Congress withheld.

                                           I

                                           A

                I would begin (and end) with the statute’s text. Section
            13(b) states that “the Commission may seek, and after proper
            proof, the court may issue, a permanent injunction.”
            15 U.S.C. § 53(b) (emphasis added). An injunction is “a
            judicial process whereby a party is required to do a particular
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            thing, or to refrain from doing a particular thing.” 2 J. Story,
            Commentaries on Equity Jurisprudence § 1181, at 549 (14th
            rev. ed. 1918); see also 1 D. Dobbs, Law of Remedies § 1.1,
            at 7 (2d ed. 1993) (similar). Injunctions might either
            “prevent violation of rights,” or compel the defendant to
            “restore the plaintiff to rights that have already been
            violated.” 1 Dobbs, § 2.9(2), at 227. But an order to pay
            money “as reparation for injury resulting from breach of
            legal duty” is essentially a damages remedy—not a form of
            “specific relief” like an injunction. Bowen v. Massachusetts,
            487 U.S. 879, 913–14 (1988) (Scalia, J., dissenting). Indeed,
            any other interpretation would be absurd: if “injunction”
            included court orders to pay monetary judgments, then “a
            statutory limitation to injunctive relief would be
            meaningless, since any claim for legal relief can, with
            lawyerly inventiveness, be phrased in terms of an
            injunction.” Great-West Life & Annuity Ins. Co. v. Knudson,
            534 U.S. 204, 211 n.1 (2002).

                If such text were not plain enough, the rest of § 13(b)
            reaffirms that “injunction” means only “injunction.” The
            statute states, for example, that the Commission must believe
            that a person “is violating” or “is about to violate” the Act in
            order to request injunctive relief. 15 U.S.C. § 53(b)(1). Thus,
            § 13(b) anticipates that a court may award relief to prevent
            an ongoing or imminent harm—but not to deprive a
            defendant of “unjust gains from past violations.” Commerce
            Planet, 815 F.3d at 599 (emphasis added). Indeed, § 13(b)
            expressly instructs courts to consider the traditional
            prerequisites for preliminary injunctive relief. The court
            must “weigh[] the equities,” consider the Commission’s
            “likelihood of ultimate success,” and determine whether the
            preliminary injunction is “in the public interest.” 15 U.S.C.
            § 53(b); see also Winter v. Nat. Res. Def. Council, Inc.,
            555 U.S. 7, 20 (2008) (listing these requirements along with
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            “irreparable harm”). Further, the statute expressly dispenses
            with the normal rule that a plaintiff must post a bond as
            security before the district court will grant preliminary relief.
            Compare 15 U.S.C. § 53(b) (“[A] preliminary injunction
            may be granted without bond . . . .”), with Fed. R. Civ. P.
            65(c) (requiring plaintiffs seeking preliminary injunctions to
            give “security”). Section 13(b) thus not only provides for
            injunctions, but it also references the constellation of legal
            rules that make sense only with reference to such relief.

                 Further, “injunction” cannot reasonably be interpreted to
            authorize other forms of equitable relief, because Congress
            would have said so if it did. For example, the Employee
            Retirement Income Security Act (ERISA) authorizes
            litigants to seek both “to enjoin any act or practice” and
            “other appropriate equitable relief.” 29 U.S.C. § 1132(a)(3).
            Indeed, in the Dodd-Frank Act, Congress felt compelled to
            amend the Commodity Exchange Act to allow courts to
            impose “equitable remedies including . . . restitution . . .
            [and] disgorgement of gains”—even though the statute
            already allowed it to impose “a permanent or temporary
            injunction.” Dodd-Frank Wall Street Reform and Consumer
            Protection Act, Pub. L. No. 111-203, § 744, 124 Stat. 1376,
            1735 (2010) (codified at 7 U.S.C. § 13a-1). Similar
            examples abound, as a brief glance through the Statutes at
            Large shows. See Helping Families Save Their Homes Act
            of 2009, Pub. L. No. 111-22, § 201, 123 Stat. 1632, 1639
            (codified at 15 U.S.C. § 1639a) (stating that certain persons
            “shall not be subject to any injunction, stay, or other
            equitable relief”); Veterans’ Benefits Improvement Act of
            2008, Pub. L. No. 110-389, § 315, 122 Stat. 4145, 4167
            (codified at 38 U.S.C. § 4323(e)) (“The court shall use . . .
            its full equity powers, including temporary or permanent
            injunctions, temporary restraining orders, and contempt
            orders”); Class Action Fairness Act of 2005, Pub. L. No.
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            109-2, § 3(a), 119 Stat. 4, 6 (codified at 28 U.S.C. § 1712)
            (“equitable relief, including injunctive relief”).

                If Congress could have used a broader phrase but “chose
            instead to enact more restrictive language,” then “we are
            bound by that restriction.” W. Va. Univ. Hosps., Inc. v.
            Casey, 499 U.S. 83, 99 (1991). Interpreting § 13(b)’s
            authorization of “injunctions” to empower courts to award
            so-called equitable monetary relief is, to say the least,
            strained.

                                          B

                                          1

                Such sensible interpretation—that “injunction” means
            only “injunction”—makes good sense in the context of the
            “overall statutory scheme.” King v. Burwell, 135 S. Ct. 2480,
            2490 (2015) (internal quotation marks omitted). While
            § 13(b) empowers the Commission to stop imminent or
            ongoing violations, an entirely different provision of the
            FTC Act allows the Commission to collect monetary
            judgments for past misconduct. In particular, § 19 authorizes
            the Commission to seek “such relief as the court finds
            necessary to redress injury to consumers,” which “may
            include, but shall not be limited to, rescission or reformation
            of contracts, the refund of money or return of property, the
            payment of damages, and public notification respecting . . .
            [such] unfair or deceptive act or practice.” 15 U.S.C.
            § 57b(b) (emphasis added).

                Read together, §§ 13(b) and 19 give the Commission two
            complementary tools—one forward-looking and preventive,
            the other backward-looking and remedial—to satisfy its
            statutory mandate. Injunctive relief in § 13(b) therefore
            functions as a simple stop-gap measure that allows the
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            Commission to act quickly to prevent harm. Indeed, the
            congressional findings regarding § 13(b) state that the
            “purpose of th[e] Act” is to “[e]nsure prompt enforcement of
            [the FTC Act] by granting statutory authority . . . to seek
            preliminary injunctive relief.” Trans-Alaska Pipeline
            Authorization Act, § 408(b), Pub. L. No. 93-153, 87 Stat.
            576, 591 (1973). Buttressing § 13(b)’s preventive relief,
            § 19 allows the Commission later to seek retrospective relief
            to punish or to remediate past violations. 15 U.S.C. § 57b;
            see FTC v. Figgie Int’l, Inc., 994 F.2d 595, 603 (1993) (“The
            redress remedy [in § 19] relates to past conduct . . . .”). Our
            misguided      interpretation     of    § 13(b),    therefore,
            fundamentally misunderstands § 13(b)’s function within the
            FTC Act’s “overall statutory scheme.” Burwell, 135 S. Ct. at
            2490.

                Worse still, awarding monetary relief under § 13(b)
            circumvents § 19’s procedural protections. Before the
            Commission can collect ill-gotten gains under § 19, it must
            surmount one of two procedural hurdles. First, it may prove
            to the district court that the defendant “violate[d] any rule”
            promulgated through the Commission’s rulemaking
            procedures. 15 U.S.C. § 57b(a)(1); see also id. § 57a
            (granting the Commission’s rulemaking authority). If the
            Commission has not promulgated such a rule, however, it
            must first pursue an administrative adjudication, issue a
            “final cease and desist order,” and then prove to the district
            court that the defendant’s conduct was such that a
            “reasonable man” would know it was “dishonest or
            fraudulent.” Id. § 57b(a)(2); see also id. § 45 (granting the
            Commission authority to issue cease and desist orders).
            Thus, before the Commission can make someone pay, it
            must have already resorted to the FTC Act’s administrative
            processes.
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                 Doubtless, Congress included § 19’s procedural rules
            with good reason. “No statute yet known pursues its stated
            purpose at all costs,” Henson v. Santander Consumer USA
            Inc., 137 S. Ct. 1718, 1725 (2017) (alterations and internal
            quotation marks omitted), and § 19 prevents the
            Commission from imposing significant monetary burdens
            simply by bringing a lawsuit in federal court. Instead, § 19
            requires the Commission either to promulgate rules that
            define unlawful practices ex ante, or first to prosecute a
            wrongdoer in an administrative adjudication that culminates
            in a cease and desist order. Indeed, the very same statute that
            included § 19 significantly expanded both the Commission’s
            rulemaking authority and its authority to seek civil penalties
            through § 5’s cease-and-desist procedures. See Magnuson-
            Moss Warranty—Federal Trade Commission Improvement
            Act, tit. II, §§ 202, 205, Pub. L. No. 93-637, 88 Stat. 2183,
            2193, 2200 (1975) (codified as amended 15 U.S.C. §§ 45,
            57a). Our circuit’s flawed interpretation of § 13(b) in
            Commerce Planet therefore wrongly allows the Commission
            to avoid the administrative processes that Congress directed
            it to follow.

                                          2

                Commerce Planet’s attempt to reconcile its
            interpretation of § 13(b) with § 19 is entirely unpersuasive.
            The decision suggests that § 19 “precludes a court from
            awarding damages” under § 13(b), but “does not eliminate
            the court’s inherent equitable power to order payment of
            restitution.” 815 F.3d at 599 (emphasis added). But
            Commerce Planet’s interpretation of § 13(b) fails to give
            unique effect to the series of remedies besides damages that
            § 19 authorizes. Specifically, § 19 expressly allows federal
            courts to impose certain equitable remedies like “refund of
            money or return of property” and the “rescission or
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            reformation of contracts.” 15 U.S.C. § 57b(b); see 1 D.
            Dobbs, § 4.3(1), at 587 (characterizing “rescission in equity”
            and “reformation of instruments” as “important equitable
            remedies”); Samuel L. Bray, The System of Equitable
            Remedies, 63 UCLA L. Rev. 530, 555–58 (2016) (same).
            According to Commerce Planet, however, these very same
            remedies were already available under § 13(b) when
            Congress subsequently enacted § 19. 1 Because Commerce
            Planet’s interpretation renders § 19 almost entirely
            redundant, it violates the “cardinal rule that, if possible,
            effect shall be given to every clause and part [of] a statute.”
            D. Ginsberg & Sons, Inc. v. Popkin, 285 U.S. 204, 208
            (1932).

                                            II

                I would end the inquiry here, for “[w]hen the words of a
            statute are unambiguous,” the “judicial inquiry is complete.”
            Conn. Nat’l Bank v. Germain, 503 U.S. 249, 254 (1992)
            (internal quotation marks omitted). But even assuming
            arguendo that the word “injunction” authorizes “equitable
            relief,” that still does not answer the question.

               The Supreme Court has held that statutes authorizing
            equitable relief limit federal courts only “to those categories

                 1
                   Congress passed § 13(b) in 1973 and § 19 in 1975. See Trans-
            Alaska Pipeline Authorization Act, § 408(F), Pub. L. No. 93-153, 87
            Stat. 576, 592 (1973) (codified as amended 15 U.S.C. § 53(b));
            Magnuson-Moss Warranty—Federal Trade Commission Improvement
            Act, tit. II, § 206, Pub. L. No. 93-637, 88 Stat. 2183, 2193 (1975)
            (codified as amended 15 U.S.C. § 57b); see also Peter C. Ward,
            Restitution for Consumers Under the Federal Trade Commission Act:
            Good Intentions or Congressional Intentions, 41 Am. U. L. Rev. 1139
            (1992) (reviewing the legislative history of §§ 13(b) and 19).
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            of relief that were typically available in equity during the
            days of the divided bench.” Montanile v. Bd. of Trs. of Nat’l
            Elevator Indus. Health Benefit Plan, 136 S. Ct. 651, 657
            (2016) (internal quotation marks omitted). 2 And as the
            Supreme Court has noted, “not all relief falling under the
            rubric of restitution is available in equity.” Great-West,
            534 U.S. at 212; see also Restatement (Third) of Restitution
            and Unjust Enrichment § 4, cmt. a (2011) (“The most
            widespread error is the assertion that a claim in restitution or
            unjust enrichment is by its nature equitable rather than
            legal.”). In this case, because restitution under § 13(b) is not
            a form of equitable relief, I would conclude that we lack the
            authority to impose it.

                                               A

                 Under the Supreme Court’s decision in Kokesh v. SEC,
            137 S. Ct. 1635 (2017), restitution under § 13(b) would
            appear to be a penalty—not a form of equitable relief. In
            Kokesh, the Court held that SEC disgorgement, which it
            described as “a form of restitution measured by the
            defendant’s wrongful gain,” is a penalty. Id. at 1640 (quoting
            Restatement (Third) of Restitution and Unjust Enrichment
            § 51, cmt. a, at 204 (2011)). The Court described three
            characteristics that render disgorgement a penalty. First, it
            “is imposed by the courts as a consequence for violating . . .

                2
                  These cases have arisen because the Court must interpret ERISA’s
            authorization of “other appropriate equitable relief.” 29 U.S.C.
            § 1132(a)(3). See generally Samuel L. Bray, The Supreme Court and the
            New Equity, 68 Vand. L. Rev. 997, 1014–23 (2015) (discussing the
            Court’s use of history to demarcate equitable and legal remedies). But
            “statutes addressing the same subject matter” should be construed in pari
            materia, Wachovia Bank v. Schmidt, 546 U.S. 303, 315 (2006), so the
            Court’s analysis in these ERISA cases should apply whenever we must
            determine which equitable remedies a statute authorizes.
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            public laws.” Id. at 1643. Second, disgorgement is
            “punitive” rather than “remedial.” Id. at 1644. With respect
            to this second characteristic, the Court elaborated that it is
            “ordered without consideration of a defendant’s expenses
            that reduced the amount of illegal profit,” so it “does not
            simply restore the status quo [but] leaves the defendant
            worse off.” Id. at 1644–45. Third, disgorgement is “not
            compensatory” because some “funds are dispersed [sic] to
            the United States Treasury.” Id. at 1644.

                Restitution under § 13(b) shares each of these three
            characteristics with SEC disgorgement. First, in Commerce
            Planet, we noted that the Commission sought “to enforce a
            regulatory statute like § 13(b),” rather than to resolve a
            “private controversy.” 815 F.3d at 602 (internal quotation
            marks omitted). And like suits for disgorgement in Kokesh,
            suits under § 13(b) “may proceed even if victims do not
            support or are not parties to the prosecution.” Kokesh, 137
            S. Ct. at 1643. Second, restitution under § 13(b) is “punitive”
            rather than “remedial.” Id. at 1643–44. Commerce Planet
            holds that the wrongdoer’s unjust gains must be measured
            by “net revenues” rather than “net profits.” 815 F.3d at 603.
            Thus, restitution under § 13(b)—just like SEC
            disgorgement—“does not simply restore the status quo [but]
            leaves the defendant worse off.” Kokesh, 137 S. Ct. at 1645.
            Third, it is not compensatory. Funds can be paid to victims,
            but they need not be. See FTC v. Pantron I Corp., 33 F.3d
            1088, 1103 n.34 (1994). In this case, for instance, the
            Commission was instructed to give refunds to consumers,
            then to use any remaining money in a way “reasonably
            related to the Defendants’ practices alleged in the
            complaint,” then to deposit the balance in “the U.S. Treasury
            as disgorgement.”
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                Restitution under § 13(b) therefore “bears all the
            hallmarks of a penalty.” Kokesh, 137 S. Ct. at 1644. As the
            Supreme Court has already stated, “[a] civil penalty was a
            type of remedy at common law that could only be enforced
            in courts of law.” Tull v. United States, 481 U.S. 412, 422
            (1987). Because penalties were not “available in equity
            during the days of the divided bench,” Montanile, 136 S. Ct.
            at 657 (internal quotation marks omitted), we should not be
            able to impose such penalty here—even if we (wrongly)
            assume that § 13(b)’s use of “injunction” authorizes
            “equitable relief.”

                                          B

                Nor does restitution under § 13(b) have much
            resemblance to equitable forms of restitution. Historically,
            courts sitting in equity could impose a series of distinct
            restitutionary remedies, including the “constructive trust,”
            the “equitable lien,” “subrogation,” “accounting for profits,”
            “rescission in equity,” and “reformation of instruments.” 1
            Dobbs, § 4.3(1), at 587; see also Samuel L. Bray, The System
            of Equitable Remedies, 63 UCLA L. Rev. 530, 553–57
            (2016) (similar). The general thread connecting these
            remedies was that they did not “impose personal liability on
            the defendant, but . . . restore[d] to the plaintiff particular
            funds or property in the defendant’s possession.” Great-
            West, 534 U.S. at 214 (emphasis added). The constructive
            trust, for instance, is “only used when the defendant has a
            legally recognized right in a particular asset”—e.g., a
            “trademark” or a “fund of money like a bank account.” 1
            Dobbs, § 4.3(2), at 591. But if such property is “dissipated,”
            then a plaintiff may not “enforce a constructive trust of or an
            equitable lien upon other property of the defendant.” Great-
            West, 534 U.S. 213–14 (quoting Restatement of Restitution
            § 215, cmt. a, at 867 (1937)) (brackets omitted).
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                Commerce Planet, however, refused to limit restitution
            under § 13(b) to the recovery of “identifiable assets in the
            defendant’s possession.” 815 F.3d at 601. But without such
            a tracing requirement, the remedy authorized by Commerce
            Planet loses its resemblance to the traditional forms of
            equitable restitution. In this case, for instance, the
            Commission’s complaint makes no effort to identify a
            specific fund that the defendant wrongfully obtained.
            Therefore, the requested relief is indistinguishable from a
            request “to obtain a judgment imposing a merely personal
            liability upon the defendant to pay a sum of money”—
            essentially an “action[] at law.” Great-West, 534 U.S. at 213
            (quoting Restatement of Restitution § 160, cmt. a, at 641–42
            (1937)).

                The only traditional equitable remedy to which
            restitution under § 13(b) is plausibly analogous is the
            “accounting for profits.” Such remedy “order[s] an inquiry
            into the defendant’s handling of money or property, usually
            to ascertain the defendant’s gains so they may be paid to . . .
            the plaintiff.” Bray, The System of Equitable Remedies,
            supra, at 553; see also Great-West, 534 U.S. at 214 n.2
            (discussing accounting for profits). An accounting for profits
            also dispenses with the requirement that the plaintiff “seek a
            particular res or fund of money.” 1 Dobbs, § 4.3(1), at 588.
            Nevertheless, restitution under § 13(b) is still inapposite.
            Generally, a suit for an accounting was proper only if
            (1) “the legal remedy was inadequate because of the
            complexity of the accounts” or (2) “there was a pre-existing
            equitable duty to account” because of some fiduciary
            relationship. 1 Dobbs, § 4.3(5), at 609; see also 4 S. Symons,
            Pomeroy’s Equity Jurisprudence § 1421, at 1077–78 (5th
            ed. 1941). Neither is true here: the borrowers defrauded by
            Tucker could establish precisely how much they lost simply
            by producing bank statements, and the defendant was not in
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            a “fiduciary relationship” with such borrowers. More
            fundamentally, however, the Commission cannot possibly
            claim that it seeks to recover “monies owed by the fiduciary
            or other wrongdoer . . . which in equity and good conscience
            belong[] to the plaintiff”—here, the Commission. 1 Dobbs,
            § 4.3(b), at 608 (emphasis added). In sum, restitution under
            § 13(b) bears little resemblance to historically available
            forms of equitable relief, and therefore we should lack the
            authority to impose it.

                                          C

                Commerce Planet wholly avoided the historical analysis
            required by cases like Great-West and Montanile. Relying
            on the Supreme Court’s decision in Porter v. Warner
            Holding Co., 328 U.S. 395, 398 (1946), we reasoned that
            § 13(b)’s use of the word “injunction” invoked the “the
            court’s equity jurisdiction.” 815 F.3d at 598. Such equity
            jurisdiction, we continued, brought with it “all the inherent
            equitable powers of the District Court” to afford “complete
            rather than truncated justice.” Id. at 598–99 (internal
            quotation marks omitted). According to Commerce Planet,
            then, § 13(b) granted a broader set of powers than what is
            authorized in statutes (like ERISA) that use the phrase “other
            appropriate equitable relief.” Id. at 602. Thus, we concluded
            that the “interpretive constraints” that guided the Supreme
            Court in cases like Great-West and Montanile did not control
            our construction of § 13(b). Id.

                But such reasoning conflicts with the Supreme Court’s
            repeated admonitions that the equitable powers of federal
            courts must be hemmed in by tradition. For instance, in
            Grupo Mexicano de Desarrollo, S.A. v. All. Bond Fund, Inc.,
            the Court interpreted the scope of the equitable jurisdiction
            of the federal courts under the Judiciary Act of 1789.
            527 U.S. 308 (1999). There, the Supreme Court squarely
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            rejected the dissenting Justices’ argument that the “grand
            aims of equity” allowed “federal courts [to] rely on their
            flexible jurisdiction in equity to protect all rights and do
            justice to all concerned.” Id. at 342 (Ginsburg, J., dissenting)
            (internal quotation marks omitted). In “the federal system,”
            the majority reasoned, “that flexibility is confined within the
            broad boundaries of traditional equitable relief.” Id. at 322.
            Indeed, the Court has reiterated similar concerns in other
            recent cases. E.g., North Carolina v. Covington, 137 S. Ct.
            1624, 1625 (2017) (“Relief in redistricting cases is fashioned
            in the light of well-known principles of equity.” (internal
            quotation marks omitted)); eBay Inc. v. MercExchange,
            LLC, 547 U.S. 388, 394 (2006) (“[Equitable] discretion must
            be exercised consistent with traditional principles of equity,
            in patent disputes no less than in other cases governed by
            such standards.”). Such cases show that we may not simply
            incant “equity” and thereby conjure the boundless power to
            afford “complete rather than truncated justice.”

                                               III

                I acknowledge that several other federal courts have
            agreed with our circuit’s interpretation of § 13(b), but their
            numbers do not persuade me that they are correct on the law,
            especially in light of Kokesh. The only decisions that engage
            with the issue at any length rely on the same faulty reasoning
            as Commerce Planet. See FTC v. Ross, 743 F.3d 886, 890–
            92 (4th Cir. 2014); FTC v. Gem Merch. Corp., 87 F.3d 466,
            468–70 (11th Cir. 1996); FTC v. Security Rare Coin &
            Bullion Corp., 931 F.2d 1312, 1314–15 (8th Cir. 1991); FTC
            v. Amy Travel Serv., Inc., 875 F.2d 564, 571–72 (7th Cir.
            1989). 3 But none of these decisions cogently explains how

                3
                  The remaining decisions uncritically adopt the analysis of the other
            federal courts. See FTC v. Bronson Partners, LLC, 654 F.3d 359, 365
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            restitution under § 13(b) fits with § 19. None undertakes the
            historical analysis that Montanile and Great-West seem to
            require. And in any event, the Court’s decision in Kokesh—
            which casts serious doubt on restitution’s equitable
            pedigree—postdates every single one of them. These past
            errors, even if common, do not justify our continued
            disregard of the statute’s text and the Supreme Court’s
            related precedent.

                                              IV

                Just last year, Justice Kennedy explained in Ziglar v.
            Abbasi that the Supreme Court once “followed a different
            approach to recognizing implied causes of action than it
            follows now.” 137 S. Ct. 1843, 1855 (2017). Under this
            “ancien regime,” the Court described, it was assumed “to be
            a proper judicial function to provide such remedies as [were]
            necessary to make effective a statute’s purpose.” Id. (internal
            quotation marks omitted). Since those days, however, the
            Court has “adopted a far more cautious course before finding
            implied causes of action.” Id. at 1855. Under Ziglar, if “a
            party seeks to assert an implied cause of action under the
            Constitution itself” or “under a federal statute, separation-of-
            powers principles are or should be central to the analysis.”


            (2d Cir. 2011); FTC v. Magazine Sols., LLC, 432 F. App’x 155, 158 n.2
            (3d Cir. 2011) (unpublished); FTC v. Direct Mktg. Concepts, Inc.,
            624 F.3d 1, 15 (1st Cir. 2010); FTC v. Freecom Commc’ns, Inc.,
            401 F.3d 1192, 1202 n.6 (10th Cir. 2005). And though the Fifth Circuit
            reasoned that § 13(b) invoked the district court’s “inherent equitable
            jurisdiction,” the actual remedy in the case was an order to place assets
            into an escrow account “to preserve the status quo” and “assure the
            possibility of complete relief following administrative adjudication.”
            FTC v. Sw. Sunsites, Inc., 665 F.2d 711, 716–21 (5th Cir. 1982). Such
            an order is quite unlike the order to pay a sum of money as restitution,
            so it says little about the question here.
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            Id. at 1857. So too here, the principle that must guide our
            analysis is that Congress—not the courts—should dictate
            rights and remedies in our federal system. See id. (“The
            question is ‘who should decide’ whether to provide for a
            damages remedy, Congress or the courts? The answer most
            often will be Congress.” (internal quotation marks and
            citation omitted)); Armstrong v. Exceptional Child Ctr., Inc.,
            135 S. Ct. 1378, 1385 (2015) (“The power of federal courts
            of equity to enjoin unlawful executive action is subject to
            express and implied statutory limitations.”); Alexander v.
            Sandoval, 532 U.S. 275, 286 (2001) (“The judicial task is to
            interpret the statute Congress has passed to determine
            whether it displays an intent to create . . . a private
            remedy.”).

                Heedless of such instruction, we have implausibly
            construed the word “injunction” in § 13(b) to authorize the
            extensive power to order defendants to repay ill-gotten
            gains—never mind that such interpretation makes nonsense
            out of § 19, and never mind that it ignores the Court’s
            statements that our equitable powers must be hemmed in by
            tradition. I submit that our interpretation of § 13(b) is thus
            an impermissible exercise of judicial creativity, and it
            contravenes the basic separation-of-powers principle that
            leaves to Congress the power to authorize (or to withhold)
            rights and remedies. Our decision in Commerce Planet is
            therefore a relic of that ancien regime that the Court over the
            last few decades has expressly and repeatedly repudiated.

               We should rehear this case en banc to revisit Commerce
            Planet and its predecessors.
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            BEA, Circuit Judge, specially concurring:

                I concur in the opinion because our precedent 1 compels
            me to, but I write separately to acknowledge that the
            question whether something is “likely to deceive” is
            inherently factual and should not be decided at the summary
            judgment stage.

                Summary judgment is proper only when there exists no
            genuine issue of material fact. Anderson v. Liberty Lobby,
            Inc., 477 U.S. 242, 247 (1986). A dispute of a material fact
            is “genuine” if the “evidence is such that a reasonable jury
            could return a verdict for the nonmoving party.” Id. at 248.
            In other words, in this case, to affirm the district court’s grant
            of summary judgment, we must conclude from the proofs
            presented that no reasonable juror could find other than that
            a reasonable consumer would likely be deceived by the Loan
            Note. This is difficult to do when the whole of the Loan
            Note is read. It is undisputed that a careful reading of the
            Loan Note and its fine print reveals the automatic renewal
            feature, whereby borrowers’ loans would be automatically
            renewed unless they navigated to a link sent to their email
            and chose to pay their total balance. Because the Loan Note
            includes truthful disclosures, we can say it is “likely to
            deceive” as a matter of law only by positing two scenarios:
            (1) it is unreasonable as a matter of law to expect the average
            consumer to read all the words of the Loan Note, including
            the fine print, or (2) as a matter of law, it is unreasonable to
            expect the average consumer to understand all the words of
            the Loan Note in the manner in which they are displayed.



                1
                 See FTC v. Cyberspace.com LLC, 453 F.3d 1196, 1200 (9th Cir.
            2006).
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                As to the first point, I know of no authority that says
            consumers need not read the fine print of their contracts;
            such a holding would certainly imperil the validity of many
            insurance contracts. And as to the second point, to say it is
            unreasonable to expect the average consumer to understand
            the words of the Loan Note in the manner in which they are
            displayed, we would have to recognize either that the three
            judges of this panel are better text readers than is the average
            consumer or that judges are not average consumers. I don’t
            know of any authority for recognizing either assertion.

               Indeed, we, a panel of three judges, have read and
            understood the terms of the Loan Note. We have not been
            deceived. Yet, we hold that the Loan Note is likely to
            deceive the average consumer as a matter of law.

                Under this court’s precedent, I accept that we may decide
            that the Loan Note is deceptive as a matter of law under § 5
            of the FTC Act. See FTC v. Cyberspace.com LLC, 453 F.3d
            1196, 1200 (9th Cir. 2006). What is determinative under
            Cyberspace is whether the “net impression” of the
            questioned text is likely to deceive. Id. This rule seems to
            require a judge consciously to blur his eyes as to the actual
            print to gain an “impression,” or perhaps to see the print as
            French impressionist masters of the late Nineteenth Century
            saw objects. But whether we are guided by impressions
            from words or words themselves, Cyberspace defies logic
            when the words are actually understood by the judge to state
            something other than the “net impression” that is claimed
            “likely to deceive.”

                 If something is “likely to deceive,” it means it will more
            probably than not deceive. To predict what is “likely” to
            happen is to predict an event. An event is a fact, yet to occur.
            It did not occur when we read the Loan Note. I am at a loss
            to understand how we can find it would ineluctably occur in
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            the case of an average reasonable consumer. It seems the
            event may occur or may not occur. If so, whether it occurs
            in every case can be disputed. Disputed factual questions are
            reserved for juries, not for district judges acting alone nor for
            a panel of appellate judges. Thus, while our precedent
            obliges me to concur in this case, I think our precedent is
            wrong. Courts should reserve questions such as whether the
            Loan Note is “likely to deceive” for the trier of fact.
